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 1
                                 UNITED STATES DISTRICT COURT
 2
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,                         CASE NO. 1:18-CR-00153-LJO-SKO-1
 5                            Plaintiff-
                              Respondent,
 6                                                     ORDER REFERRING CASE TO FEDERAL
             v.                                        DEFENDER AND SETTING REVISED
 7                                                     BRIEFING SCHEDULE
     JAVIER ALONSO BELTRAN,
 8
                              Defendant-
 9                            Petitioner.
                                                       (ECF NOS. 42, 43, 44)
10
11           On July 19, 2019, Javier Alonso Beltran (“Petitioner”), a federal prisoner proceeding pro
12   se, filed a motion to vacate, set aside, or correct a sentence (“motion”) under 28 U.S.C. § 2255,
13   challenging the constitutionality of his guilty plea in light of the Supreme Court’s decision in
14   United States v. Davis, 139 S. Ct. 2319 (2019). See ECF No. 42. On September 9, 2019, the Court
15   received a second motion from petitioner, containing the same single allegation. ECF No. 43.
16   Appended to the second motion was a handwritten certificate of service. ECF No. 43. Included
17   with the first motion was a letter addressed to the Government. ECF No. 42. Because there is no
18   substantive difference to resolve between the motions, the first motion is the operative motion in
19   this case.
20           On September 20, 2019, the Court issued an order setting a briefing schedule. ECF No. 44.

21   However, on October 4, 2019, to promote efficient processing of petitions under Davis and certain
22   other cases, the Court issued Eastern District of California General Order 603, appointing the
23   Federal Defender’s Office (“FDO”) to represent any defendant who was previously determined to
24   have been entitled to appointment of counsel, or who is now indigent, to determine whether that
25   defendant may qualify for federal relief under either 28 U.S.C. § 2255 or 28 U.S.C. § 2241 in light
26   of Davis and the certain other cases. Therefore, the Court appoints FDO to represent Petitioner in
27   this matter pursuant to the provisions of the Criminal Justice Act, Title 18 U.S.C. § 3006A(a)(1)
28   and (c). Accordingly,
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 1          IT IS HEREBY ORDERED that the briefing schedule set by the Court’s previous order,

 2   ECF No. 44, is rescinded; and

 3          IT IS FURTHER ORDERED that FDO shall have until December 23, 2019, to file a

 4   supplement to Petitioner’s pro se § 2255 Motion or notify the Court that it does not intend to file

 5   such a supplement. The Government shall file its response to Petitioner’s motion no later than

 6   February 21, 2020. Petitioner’s reply to the Government’s response shall be filed no later than

 7   April 21, 2020.

 8          The Clerk of Court is DIRECTED to add the FDO’s Panel Administrator, Connie

 9   Garcia (Connie_Garcia@fd.org), to the service list prior to docketing of this Order.

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     IT IS SO ORDERED.
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12     Dated:     October 22, 2019                        /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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